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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        SUGGESTION OF REMAND TO
                                                    TRANSFEROR COURT
   Canning et al. v. Monsanto Co., Case No.
   19-cv-04230-VC



       This suggestion of remand is for Plaintiffs Shirley Canning and Cheryl Quast, whose case

was transferred to this MDL from the District of Massachusetts.

                                                I

       In March 2015, the International Agency for Research on Cancer (IARC) classified

glyphosate as “probably carcinogenic to humans.” The classification stemmed from scientific

studies that found an association between glyphosate exposure and non-Hodgkin lymphoma

(NHL). Glyphosate is the active ingredient in Monsanto’s widely used weedkiller Roundup, and

the IARC classification prompted people with NHL to file lawsuits against Monsanto in federal

and state courts across the country, primarily alleging that Monsanto failed to warn them about

the cancer risks posed by Roundup.

       In October 2016, the Panel created this MDL for federal court cases in which plaintiffs

allege that Roundup caused their NHL. In re Roundup Products Liability Litigation, 214 F. Supp.

3d 1346 (J.P.M.L. 2016). To date, several thousand individual cases have been filed in judicial
districts around the country and transferred to the MDL.
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       Bayer (which now owns Monsanto) began to settle these cases in June 2020. The

company reached separate settlement agreements with individual law firms to resolve the cases

being handled by those firms. By this point, well over half the cases in the MDL are subject to

agreements with firms. But for each individual case, the settlement is subject to approval by the

plaintiff represented by the firm that signed the agreement.

       Meanwhile, the cases in the MDL that are not subject to a settlement agreement continue

to be worked up for trial. This is happening in waves, with a litigation schedule (through

summary judgment) being set for each wave. Monsanto does not consent to cases from other

districts being tried here in the Northern District of California. Thus far, most cases in a given

wave have settled prior to summary judgment. Occasionally, a summary judgment ruling is

necessary, but then the cases settle shortly after I rule, and before I can suggest that the case be

remanded for trial. And on rare occasions, the case does not settle even after I rule on summary

judgment.

       This case, Canning et al. v. Monsanto, was originally filed in the District of

Massachusetts. It became part of the sixth wave. Discovery is complete, I have denied summary

judgment for Monsanto, and the case did not settle immediately following my ruling.

Accordingly, the case is ready for trial, and I suggest that the Panel remand it to the District of

Massachusetts. What follows is a summary of the pretrial proceedings and guidance for the judge
who will be trying the case.

                                                  II

       In the MDL, the proceedings were bifurcated and we focused first on general causation—

that is, whether Roundup is capable of causing NHL at exposure levels that people can be

expected to experience. Both sides (with the plaintiffs represented by leadership counsel)

presented expert testimony at Daubert hearings. I ruled that some of the plaintiffs’ experts

satisfied Daubert, and that a reasonable jury relying on their testimony could conclude that

Roundup is capable of causing NHL. In re Roundup Products Liability Litigation, 390 F. Supp.
3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt. No. 1596). There is a video recording of


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the Daubert hearings on general causation; they can be viewed at

https://www.uscourts.gov/cameras-courts/re-roundup-products-liability-litigation.

       We then worked up three bellwether cases for trial. All three involved claims under

California law. After discovery, Monsanto moved for summary judgment on the question of

specific causation—that is, whether a reasonable jury could conclude that Roundup caused NHL

in these three particular plaintiffs. Following more Daubert hearings, I denied Monsanto’s

motion for summary judgment on specific causation, ruling that a reasonable jury could find that

Roundup caused the plaintiffs’ NHL. In re Roundup Products Liability Litigation, 358 F. Supp.

3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799).1 However, I ruled that certain

portions of the testimony given by the plaintiffs’ experts at the Daubert hearings crossed into the

realm of junk science and could not be repeated to the jury at trial. Id. at 961–62.

       The first of the three bellwether cases, Hardeman v. Monsanto, went to trial in February

2019. The core claims in Canning et al. are similar to the claims that were brought by

Hardeman—namely, that Monsanto failed to warn of the risk that Roundup could cause NHL

and that Roundup is defective because it causes NHL. The Hardeman trial was bifurcated, with

the first phase focusing solely on causation. See Pretrial Order No. 61 (Dkt. No. 2406). A jury

concluded, after several days of deliberation, that Roundup caused Hardeman’s NHL. The

second phase of the trial focused primarily on damages. The jury awarded $5,066,667 in
compensatory damages and $75,000,000 in punitive damages.

       The punitive damages award was based on evidence presented at trial that Monsanto was

more concerned with tamping down safety inquiries and controlling public opinion around

Roundup than it was with ensuring that its product is safe. California law provides for punitive

damages where a defendant acts “with a willful and conscious disregard of the rights or safety of

others.” California Civil Code § 3294(c)(1).

       After trial, I reduced the punitive damages award to $20,000,000 to comport with due

1
 All Pretrial Orders cited here are docket entries in In re Roundup Products Liability
Litigation, Case No. 3:16-md-02741-VC.


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process. See In re Roundup Products Liability Litigation, 385 F. Supp. 3d 1042 (N.D. Cal. 2019)

(Pretrial Order No. 160, Dkt. No. 4576). The verdict and post-trial rulings were affirmed by the

Ninth Circuit Court of Appeals. Hardeman v. Monsanto, 997 F.3d 941 (9th Cir. 2021). Monsanto

filed a cert petition with the U.S. Supreme Court, primarily arguing that Hardeman’s state law

claims are preempted by federal law. The Supreme Court denied the petition in June 2022.

       Following the Hardeman verdict, the two remaining bellwethers settled. Meanwhile, as

previously mentioned, we established a system by which cases in the MDL would be worked up

for trial in waves. In January 2020, I issued rulings on dispositive motions in the Wave 1 cases. I

also concluded that it would serve the interest of judicial economy for me to rule on non-

dispositive evidentiary motions that related to causation (for example, a motion to prevent a

particular expert from making a particular point to the jury about causation). I concluded that

other non-dispositive motions to limit or exclude testimony were better left to the judge who

would be trying the cases, so I denied those motions without prejudice. See Pretrial Order No.

202 (Dkt. No. 9143).

       For specific causation, I simply incorporated my ruling from the bellwether cases and

applied it to the Wave 1 cases, thereby denying Monsanto’s motion to exclude specific causation

experts while identifying certain claims that the experts would not be permitted to make at trial.

See Pretrial Order No. 85 (Dkt. No. 2799); Pretrial Order No. 203 (Dkt. No. 9144). I also issued
a separate ruling limiting the testimony of a different plaintiff’s expert, Dr. Sawyer. Pretrial

Order No. 201 (Dkt. No. 9142).

       I followed the same approach for subsequent waves. The Canning case is part of the

Wave 6 cases. Monsanto filed Daubert motions relating to two experts in Canning: Dr. D. Barry

Boyd, the plaintiffs’ expert on specific causation, and Dr. Robert Herrick, an expert who

tabulated certain figures concerning Richard Canning’s exposure to Roundup. I denied both

motions. See Pretrial Order No. 290 (Dkt. No. 18320). In short, I ruled that Boyd had reliably

performed the “differential diagnosis” necessary to opine that Richard Canning’s NHL was
caused by his exposure to Roundup. And I rejected Monsanto’s arguments that Herrick’s


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relatively straightforward calculations were unreliable. (Monsanto’s attack on Herrick was really

a collateral attack on the reliability of the specific causation testimony—Boyd relies on Herrick’s

opinion—and, when understood as such, it was foreclosed by prior rulings on that issue.) Boyd

and Herrick are also experts in two other cases for which I am issuing simultaneous suggestions

of remand to the District of Massachusetts: Cotter et al. v. Monsanto Co. and Nelson et al. v.

Monsanto Co. The same counsel represents the plaintiffs in all three actions. Because the issues

in those cases will overlap significantly, it may make sense for all three cases to be assigned to

the same judge.

       One issue that came up during preparation for the bellwether trials was whether the

parties should be permitted to present general causation testimony from someone other than an

expert whose opinions were tested during the general causation phase of the MDL. In particular,

Monsanto argued that it should not be limited to using those experts, and that its specific

causation experts (who were not part of the general causation phase) should be permitted to offer

a general opinion that Roundup does not cause NHL (in addition to their specific opinion that

Roundup did not cause NHL in a particular plaintiff). Although I agreed with Monsanto that it

typically will make sense for a specific causation expert to include a general opinion about

whether Roundup is a risk factor for NHL (assuming the specific causation expert is also

qualified to give a general causation opinion), I rejected Monsanto’s request as it related to the
bellwether cases, because the parties and the Court had been operating under the assumption that

general causation testimony at the bellwether trials would be from the experts who passed

Daubert during the general causation phase. Pretrial Order No. 81 (Dkt. No. 2775). However, I

subsequently ruled that it would be appropriate for specific causation experts to include in their

opinions the kind of testimony given by the general causation experts during the general

causation phase of the MDL, thus potentially obviating the need to call separate witnesses on

general causation. See Pretrial Order No. 271 (Dkt. No. 14489).

       The parties will need to refile motions in limine unrelated to causation, and the trial judge
will need to consider those motions. My in limine rulings from the Hardeman trial may serve as


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guidance. See generally Pretrial Order No. 81 (Dkt. No. 2775). My post-trial ruling explaining

the evidentiary issues that came up during trial may also be helpful. See generally Pretrial Order

No. 159. The Ninth Circuit’s ruling in Hardeman provides helpful guidance regarding damages

and jury instructions (including an instructional error—albeit a harmless one—that the Circuit

identified in the Hardeman case). Attached as Appendix A to this order is a longer list of

documents that the trial judge may wish to read in preparation for trial.

       The Clerk of Court is directed to provide a copy of the suggestion of remand to the Clerk

of the United States Judicial Panel on Multidistrict Litigation and the Clerk of the District of

Massachusetts.



       IT IS SO ORDERED.

Dated: May 29, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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                                           Appendix A


There is a webpage dedicated to the Roundup MDL that includes the Pretrial Orders noted below
in an easy-to-access format. Please see: https://www.cand.uscourts.gov/judges/chhabria-vince-
vc/in-re-roundup-products-liability-litigation-mdl-no-2741

Pretrial Order No. 236 (Order re Motion to Establish Holdback Percentage): This ruling on fees
is not directly relevant but it describes the history of the MDL.

Pretrial Order No. 45 (General Causation): This order denies summary judgment for Monsanto
on general causation grounds and applies the Daubert test to general causation experts. I
recommend the trial judge skim this ruling to develop general familiarity with the science and to
help understand the decision by the IARC to classify glyphosate as a probable carcinogen.

Pretrial Order No. 85 (Specific Causation): This ruling denies summary judgment for Monsanto
on specific causation grounds and sets parameters for testimony by specific causation experts.

Pretrial Order No. 101 (Summary Judgment): This ruling rejects various arguments by Monsanto
(other than those relating to causation) for summary judgment.

Pretrial Order No. 61 (Bifurcation): This ruling explains the rationale for bifurcating the
Hardeman trial.

Pretrial Order No. 70 (Jury Questionnaire): This is the questionnaire we submitted to prospective
jurors in advance of the Hardeman trial.

Pretrial Order No. 81 (Ruling on Motions in Limine for the Bellwether Trials): This ruling
discusses many issues that will come up in any Roundup trial.

Pretrial Order No. 108 (Jury Instructions on Phase 1 of the Hardeman Trial)

Pretrial Order No. 139 (Jury Instructions on Phase 2 of the Hardeman Trial)

Pretrial Order No. 159 (Denying Monsanto’s Post-Trial Motions Relating to Issues Other Than
Damages): This ruling discusses evidentiary issues that came up at the Hardeman trial, some of
which will likely recur in any Roundup trial.

Pretrial Order No. 160 (Ruling on Post-Trial Motions Relating to Damages): This ruling will be
relevant if there is a damages award and a post-trial motion to reduce the award.

Ninth Circuit Ruling on Preemption, Damages, Evidentiary Issues, and Instructional Issues
Hardeman v. Monsanto, 997 F.3d 941 (9th Cir. 2021): This ruling is generally helpful, but in
particular the trial judge should make sure to review the discussion of jury instructions under
California law. After trial, in the event of a damages award, the Ninth Circuit’s discussion of
punitive damages will be important.



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